                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF TEXAS

RIPPY OIL CO.                                   §
                                                §
                                                §       CIVIL ACTION NO.
VS.                                             §
                                                        4:22-cv-00276
                                                §
                                                §
                                                §
ACE AMERICAN INSURANCE CO.,                     §
CHARTIS SPECIALTY INSURANCE                     §
CO., RISK SPECIALISTS COMPANIES                 §
INSURANCE AGENCY, INC                           §


UNOPPOSED MOTION FOR EXTENSION OF TIME TO FILE RESPONSIVE
                       PLEADINGS

      Defendant, ACE American Insurance Company (“ACE”), respectfully requests the

entry of an order extending the time within which ACE must file responsive pleadings or

otherwise plead to Rippy Oil Co.’s Plaintiff’s Original Petition [Doc. 1-2] (hereinafter

“Petition”), and in support hereof states as follows:

           1. ACE was served with the Petition filed in the District Court of Harris

               County, Texas, under Docket 2021-83799/Court 133 on January 11, 2022.

           2. Notice of Removal of this matter to this court was filed on January 27,

               2022, making ACE’s response deadline February 3, 2022 under Fed. Rule

               Civ. Pro. 81(c)(2)(C).

           3. ACE requires a short, seven (7) day extension of time, up to and including

               February 10, 2022, to investigate defenses and to file responsive pleadings

               to the Plaintiff’s Original Petition.

           4. All counsel of record have been contacted and they have no opposition to

               the relief sought herein.
           5. There is good cause for the extension of time. Defendant needs further

              time to analyze the allegations made in the Petition, which includes a

              breach of contract claim, a request for declaratory relief and includes as

              attachments numerous exhibits from a previously litigated matter, in

              order to appropriately respond.

           6. The requested extension will serve the purposes of substantial and

              procedural due process.

           7. There is no scheduling order, and an extension will not interfere with the

              time set for completion of discovery, for hearing a motion, or for trial.

      Wherefore, premises considered, ACE respectfully requests that this Honorable

Court enter an Order granting it a seven (7) day extension of time, up to and including

February 10, 2022, to file responsive pleadings to Rippy Oil Co’s Petition.


                                                Respectfully submitted,

                                                _/s/ Michael A. Varner_
                                                Michael A. Varner
                                                Texas Bar No. 20499425
                                                S.D. Tex. No. 15111
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                                                E-Mail: mvarner@brownsims.com
                                                Attorney for Defendant ACE
                                                American Insurance Company
                         CERTIFICATE OF CONFERENCE

      I certify that counsel for ACE American Insurance Company have conferred with

all counsel of record, who have indicated they have no opposition to this Unopposed

Motion for Extension of Time to File Responsive Pleadings.

                                                 __/s/ Michael A. Varner_
                                                    Michael A. Varner




                            CERTIFICATE OF SERVICE

      I hereby certify that on this 3rd day of February, 2022 I electronically filed the

foregoing with the Clerk of Court using the CM/ECF system, which will send a notice of

electronic filing to all CM/ECF participants.



                                                 ___/s/ Michael A. Varner_
                                                    Michael A. Varner
